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                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF LOUISIANA


BETTY BROWN                                       §      Docket No. 3:23-cv-04504
                                                  §
                                                  §
Versus                                            §      Judge: GREG GERARD GUIDRY
                                                  §
                                                  §
LIBERTY MUTUAL                                    §            Magistrate Judge: DONNA
INSURANCE COMPANY                                 §            PHILLIPS CURRAULT

______________________________________________________________________________

                VOLUNTARY MOTION TO DISMISS WITHOUT PREJUDICE


          NOW INTO COURT, comes undersigned counsel, and respectfully request this

Honorable Court to grant its Voluntary Motion to Dismiss for the reasons set forth below.

          1. Plaintiff, BETTY BROWN, initially signed a contract of representation with McKinley,

Mosley and Associates (hereinafter "MMA");

          2. As this Court is well aware, MMA was subsequently removed from representation in all

cases involving Hurricane Ida;

          3. The file was referred to the Galindo Law Firm for further handling and Galindo Law

firm attempted to contact, without success, Plaintiff;

          4. On August 28, 2023, in an abundance of caution and in order to preserve Plaintiff's

rights, Galindo Law Firm filed a complaint to avoid any issue of liberative prescription in the

matter;

          5. Subsequently, undersigned counsel attempted to contact the client multiple times after

the filing of the lawsuit.
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       6. In a last effort to contact the client, Galindo Law visited the last known home address of

the Plaintiff on November 28th, 2023. Upon visiting the last known home address of the Plaintiff,

no one answered the door and a brochure was left with the contact information of Galindo Law

and a message stating the importance of the Plaintiff reaching out to Galindo Law regarding their

claim. As such, undersigned counsel has not had communication with the Plaintiff after doing all

due diligence.

        Accordingly, upon due consideration of the facts and law, Plaintiff wishes to voluntarily

dismiss her claim.

       WHEREFORE, undersigned counsel respectfully requests this Honorable Court GRANT

this Motion and enter an order dismissing the above-referenced claim Without Prejudice.


                                                     Respectfully Submitted,

                                                     /s/ Mark Ladd_____________
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                                                     Harry E. Cantrell, Jr.
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